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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

MARK ROBERTSON,                                  §
                          Petitioner,            §
                                                 §
v.                                               §    CIVIL ACTION No. 3:13-CV-728-G-BK
                                                 §
                                                 §    (Death Penalty Case)
                                                 §
LORIE DAVIS, Director,                           §
Texas Department of Criminal Justice,            §
Correctional Institutions Division,              §
                      Respondent.                §


                 JOINT MOTION OF PETITIONER AND RESPONDENT
                              TO UNSEAL Doc #98.


       COMES now Petitioner, Mark Robertson, and Respondent, Director Lorie Davis and file this

Joint Motion to Unseal Document 98, “Sealed Memorandum Opinion and Order Following

Remand,” (hereinafter Mem. Op. and Order).

       The parties request that the court place the 2/19/2019 Mem. Op. and Order, Doc 98, on the

docket sheet, and make its content available in the public record. Nothing about this public record

filing changes the sealed nature of documents that do remain sealed in the district court.

       Other orders of the court pertaining to funding requests have already been unsealed at the

request of the parties prior to the Ayestas appeal in the Fifth Circuit.1 This allowed the parties to


       1
               In particular, the district court unsealed Doc 25 [Order]; Doc 33 [Order]; Docs 53,
53-1, 53-2 [Defense Funding Application with exhibits for Representation Services]; Doc 60
[Defense Notice of Service of Docs 53, 53-1, 53-2, pursuant to the August 29, 2014 Court Order,
Doc #56, at 4]; Doc 64 [Respondent Response in Opposition to Doc 53]; Doc 65 [Defense
Motion]; and Doc 69 [Order]. See also Doc 66 Order unsealing Docs 25, 33, 53, 53-1, 53-2, 60,
64 and 65. See also Doc 75 Order unsealing Doc 69.
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litigate the denial of auxiliary representation services pursuant to 28 U.S.C. § 3599 in the Fifth

Circuit – which is an issue that is a matter of appeal as of right.

       WHEREFORE, counsel for both parties request that this court grant the joint motion to

unseal, place on the docket sheet, and make available the content of Doc # 98,               "Sealed

Memorandum Opinion and Order Following Remand," dated February 19, 2019.



                                                                            Respectfully submitted,

                                                                              /s/ Lydia M.V. Brandt

                                                      ____________________________________
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                                                          Counsel for Petitioner, Mark Robertson


                                                                      /s/ Gwendolyn S. Vindell*
                                                    ____________________________________
                                                Gwendolyn S. Vindell, Assistant Attorney General
                                                                Texas Attorney General’s Office
                                                                P.O. Box 12548, Capitol Station
                                                                         Austin, TX 78711-2548
                                                   Counsel for Respondent, Director Lorie Davis
                                                        * signed with permission of Ms. Vindell



                                 CERTIFICATE OF SERVICE

       This certifies that on February 21, 2019, I electronically filed the foregoing document with

the clerk of court for the US District Court Northern District Texas using the electronic case filing


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system of the court. The electronic case filing system sent a notice of electronic filing to the

following attorney of record, who has consented in writing to accept this notice as service of this

document by electronic means:

               Gwendolyn Vindell, Assistant Attorney General
               Attorney General’s Office
               P.O. Box 12548, Capitol Station
               Austin, TX 78711-2548




                                                                            /s/ Lydia M.V. Brandt

                                                     ____________________________________
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